Case 1:15-cv-07433-LAP Document 1330-13 Filed 01/05/24 Page 1 of 5




                   EXHIBIT 1
            (File Under Seal)
Case 1:15-cv-07433-LAP Document 1330-13 Filed 01/05/24 Page 2 of 5


                                                                     Page 1


                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


                        CASE NO. 15-CV-07433-RWS


      ------------------------------------------x
      VIRGINIA L. GIUFFRE,


                                    Plaintiff,
      v.
      GHISLAINE MAXWELL,
                                    Defendant.


      -------------------------------------------x


                                    June 1, 2016
                                    9:12 a.m.


                        C O N F I D E N T I A L
            Deposition of JOHN ALESSI, pursuant
            to notice, taken by Plaintiff, at the
            offices of Boies Schiller & Flexner, 401
            Las Olas Boulevard, Fort Lauderdale, Florida,
            before Kelli Ann Willis, a Registered
            Professional Reporter, Certified Realtime
            Reporter and Notary Public within and
            for the State of Florida.




                   MAGNA9      LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-13 Filed 01/05/24 Page 3 of 5


                                                                 Page 223
 1                                JOHN ALESSI
 2          Q.     You never received emails from either of
 3    them?
 4          A.     No, sir.
 5          Q.     So when there would be a message from one
 6    of them while they were out of town, they would call
 7    you, call you on the telephone?
 8          A.     I haven't spoken to Ghislaine in 12 years.
 9          Q.     Sorry.    I'm talking about when you worked
10    there and you would receive a message that they were
11    coming into town, would that be by way of telephone?
12          A.     Telephone, and also, there was a system at
13    the house, that it was MindSpring, MindSpring I
14    think it's called, that it was like a message system
15    that would come from the office.
16          Q.     What is MindSpring?
17          A.     It was a server.      I think it was -- the
18    office would have, like, a message system between
19    him, the houses, the employees, his friends.              They
20    would write a message on the computer.             There was no
21    email at that time.
22          Q.     Okay.    So what computer would you use?
23          A.     My computer in my office.
24          Q.     And so was part of your daily routine to
25    go to your computer and check to see if you had




                   MAGNA9      LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-13 Filed 01/05/24 Page 4 of 5


                                                                 Page 224
 1                                JOHN ALESSI
 2    MindSpring messages?
 3            A.   No.     That was at the end of my stay.           That
 4    was the very end of my stay.          I didn't get involved
 5    with that too much.        But it was a message system
 6    that Jeffrey received every two, three hours, with
 7    all the messages that would have to go to the office
 8    in New York, and they will print it and send it
 9    faxed to the house, and I would hand it to him.
10          Q.     Did it look like the message pads that
11    we've been looking at?
12          A.     No, no, nothing like that.
13          Q.     Was it typed-out messages?
14          A.     Yes, typed-out messages.
15          Q.     Just explain one example of how it would
16    work.    Let's say that Ghislaine wanted to send him a
17    message on MindSpring.        How would that work?
18          A.     An example?
19          Q.     Sure.
20          A.     It got so ridiculous at the end of my
21    stay, okay?     That Mr. Epstein, instead of talking to
22    me that he wants a cup of coffee, he will call the
23    office; the office would type it; they would send it
24    to me, Jeffrey wants a cup of coffee, or Jeffrey
25    wants an orange juice out by the pool.




                   MAGNA9      LEGAL SERVICES
Case 1:15-cv-07433-LAP Document 1330-13 Filed 01/05/24 Page 5 of 5


                                                                 Page 225
 1                                JOHN ALESSI
 2          Q.     He would call the office in New York.
 3    They would then type it in MindSpring?
 4          A.     Send it to me.
 5          Q.     How would you know to check for it?               How
 6    would you know to look for this MindSpring?
 7          A.     Because I was in the office.          I was there.
 8    I was there.       And we have a signal when it come on
 9    and says, Hey, you've got mail.
10          Q.     Okay.
11          A.     Every day.     Every day it was new things
12    put in.    That's why I left, too.
13          Q.     Do you know who set up the mind spring
14    system?
15          A.     It was a computer guy.        It was a computer
16    guy who worked only for Jeffrey.           Mark.    Mark
17    Lumber.
18          Q.     Was he local to Palm Beach?
19          A.     No.   He was in New York.        Everything was
20    set up from New York.        And Mark Lumber, I remember
21    he came to Palm Beach to set up the system at the
22    house.
23          Q.     Did you become aware at some point in time
24    that there was a bag or a briefcase of cash that was
25    in the house?




                   MAGNA9      LEGAL SERVICES
